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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA,

 Plaintiff,
                                                        CRIMINAL NO. 10-340 (DRD)
                 v.

 ERNESTO ACOSTA-RODRIGUEZ [1],

 Defendant.


                         REPORT AND RECOMMENDATION

       Defendant Ernesto Acosta-Rodríguez was charged in Counts One thru Forty-Nine

of an Indictment and he agreed to plead guilty to Count One of the Indictment and the

Forfeiture Allegation. Count One charges that, in or about November 2004, through in or

about February 2009, in the District of Puerto Rico and elsewhere within the jurisdiction

of this Court, defendants herein, did knowingly and willfully combine, conspire, confederate

and agree, with each other and others known and unknown to the Grand Jury, to execute

and attempt to execute a scheme and artifice to defraud, BBVA, Doral, Eurobank, Oriental,

R&G, Scotiabank, and Westernbank, each of which is a federally insured financial

institution, and to obtain monies and funds owned by, and under the custody and control

of, these financial institutions, in violation of Title 18, United States Code, Section 1344(1),

(2), and 1349.

       On February 10, 2012, defendant appeared before this Magistrate Judge, since the

Rule11 hearing was referred by the Court. Defendant was provided with a Waiver of Right

to Trial by Jury, which he signed and agreed upon voluntarily after examination in open

court, under oath.
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         Defendant indicated and confirmed his intention to plead guilty to Count One of the

Indictment, upon being advised of his right to have said proceedings before a district judge

of this court.1 Upon verifying through defendant’s statement his age, education and any

relevant aspect as to the use of medication, drugs, alcohol or substance dependency, and

psychological or psychiatric condition, to ascertain his capacity and ability to understand,

answer and comprehend the interactive colloquy with this Magistrate Judge, a

determination was made as to defendant’s competency and ability to understand the

proceedings.

         Having further advised defendant of the charges contained in above-stated Count

One, he was examined and verified as being correct that: he had consulted with his counsel,

Jason González-Delgado and José Vázquez-Matos, prior to the hearing for change of plea,

that he was satisfied with the services provided by his legal representatives and had time

to discuss with them all aspects of the case, insofar, among other things, regarding the

change of plea, the consent to proceed before a United States Magistrate Judge, the content

of the Indictment and the charges therein, his constitutional rights and the consequences

of the waiver of same.

         Defendant was specifically apprised by this Magistrate Judge that, upon withdrawing

his initial plea of not guilty and now entering a plea of guilty to the charge specified, he was

waiving his right to a public, speedy, and a trial by jury constituted by twelve jurors who

have to unanimously agree to a verdict. He was also waiving his right to be presumed

innocent and for the government to meet the obligation of establishing his guilt beyond a



         1
           The form entitled Consent to Proceed Before a United States Magistrate Judge in a Felony Case for Pleading
Guilty (Rule 11, Fed.R.Crim.P.) and Waiver of Jury Trial, signed and consented by both parties is made part of the record.
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reasonable doubt. Furthermore, he was waiving his right during said trial to confront the

witnesses who were to testify against him and be able to cross-examine them, through

counsel at said trial, as well as present evidence on his behalf. He was also waiving the right

to compel the attendance of witnesses and that subpoenas be issued to have them appear

in court to testify. Defendant was specifically apprised of his right to take the stand and

testify, if he so decided, or not to testify, and no inference or decision as to his guilt could

be made from the fact if he decides not to testify. Defendant was also explained his right

not to incriminate himself; that upon such a waiver of all above-discussed rights a judgment

of guilty and his sentence were to be based on his plea of guilty, and he would be sentenced

by the judge after considering the information contained in a pre-sentence report.

        As to all the above, defendant provided an individualized and positive

acknowledgment of each and every waiver and, with the assistance of his counsel, Attorney

González-Delgado and Vázquez-Matos, indicated he freely and voluntarily waived those

rights and understood the consequences. During all this colloquy, defendant was made

aware that he could freely request from this Magistrate Judge any additional clarification,

repetition, or ask questions and that he may consult with his attorney at any given time as

to any issue.

        Defendant expressed his understanding of the penalties prescribed by statute for the

offenses as to which he was pleading guilty. The penalty for the offense charged in Count

One is a term of imprisonment of not more than thirty (30) years, a fine not to exceed one

million dollars ($1,000,000.00), and a term of supervised release of not more than five (5)

years in addition to any term of incarceration.
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        The Court must also impose a mandatory penalty assessment of one hundred dollars

($100.00), per count, to be deposited in the Crime Victim Fund.

        Having ascertained directly from defendant that he had not been induced in any way

to plead guilty, that no one had forced him in any way to plead guilty, nor that he had been

offered any reward or any other thing of value to get him to plead guilty, the document

entitled “Plea Agreement” pursuant to Rule 11(c)(1)(A) & (B) FRCP (“the Agreement”) and

the “Plea Agreement Supplement”2 were shown to defendant, verifying his signature and

initials on each and every page.

        Pursuant to said Agreement, and insofar as Count One, as to which defendant

already was aware of the maximum possible penalties, defendant was apprised that it was

up to the sole discretion of the sentencing court what the sentence to be imposed on him

will be. Defendant was specifically informed that if the sentencing court were to impose a

sentence which turned out to be higher or more severe than the one he might be expecting,

for said reason alone, defendant would have no grounds for the court to allow him to

withdraw his plea of guilty.

        The above-captioned parties’ estimate and agreement that appears on pages three

(3) and four (4), paragraph seven (7) of the Agreement, regarding the possible applicable

advisory Sentencing Guidelines, were further elaborated and explained. As to Count One,

the Base Offense Level is of Seven (7) pursuant to U.S.S.G. § 2B1.1(a)(1). Pursuant to

U.S.S.G. § 2B1.1(b)(1)(J), an increase of eighteen (18) levels is agreed for more than

$2,500,000.00 but less than $7,000,000.00. Pursuant to U.S.S.G. § 3E1.1(a) & (b), a three



        2
            Defendant acknowledged discussing the “Plea Agreement Supplement” with his counsel and stated he
understood the terms and consequences of the same. Defense counsel recognized he explained to defendant the content
of the “Plea Agreement Supplement” and explained to defendant its consequences.
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(3) level decrease is agreed for acceptance of responsibility. Therefore, the Total Offense

Level is of Twenty-Two (22), yielding an imprisonment range of forty-one (41) to fifty-one

(51) months if the Criminal History Category is I.

        As part of this Plea Agreement for Count One, the parties recommend a sentence at

the lower end of the applicable guidelines. Furthermore, at the time of sentencing the

Government will move to dismiss all remaining counts of the Indictment as they pertain to

the defendant.

        There parties do not stipulate any assessment as to the defendant’s Criminal History

Category.

        The United States and the defendant agree that no further adjustments or departures

to the defendant’s base offense level pursuant to any guideline or statute shall be sought by

the parties. The parties agree the Specific Sentence Recommendation is reasonable and will

not argue anything to the contrary.

        As part of the written Agreement, the government, the defendant, and his counsel

also agreed they are aware that the Sentencing Guidelines are no longer mandatory and are

thus considered advisory.

        The government presented to this Magistrate Judge and to defendant, assisted by

his counsel, a summary of the basis in fact for the offenses charged and the evidence the

government had available to establish, in the event defendant had elected to go to trial, the

commission of the offense, beyond a reasonable doubt.                  Counsel and defendant

acknowledged the evidence of the government was fully disclosed to them and previously

discussed between the two. Defendant was also read and shown a document entitled

“Stipulation of Facts”, which had been signed by defendant and his counsel and is attached
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to the Agreement, wherein the signature of counsel for the government also appears.

Defendant was able to understand the explanation and agreed with the government’s

submission.

        Defendant was explained that the Agreement with the government does not bind any

other district, except the district of Puerto Rico, and it contained all the promises, terms and

conditions which defendant, his attorney and the government, have entered.

        Defendant was informed that he can appeal his conviction if he believes that his

guilty plea was somehow unlawful or involuntary or if there is some other fundamental

defect in the proceedings which was not waived by his guilty plea. Defendant was also

informed that he has a statutory right to appeal his sentence under certain circumstances

particularly if the sentence is contrary to law. With few exceptions, any notice of appeal

must be filed within fourteen (14) days of judgment being entered in the case. Defendant

was also apprised the right to appeal is subject to certain limitations allowed by law because

his Plea Agreement contains a waiver of appeal in paragraph seventeen (17) which was read

to defendant in open court. Defendant recognized having knowledge of the waiver of appeal,

discussing the same with his counsel and understanding its consequences. Defense counsel

acknowledged

        Defendant waived the reading of the Indictment in open court because he is aware

of its content, indicating he availed himself of the opportunity to further discuss same with

his attorney and then he positively stated that what was contained in Count One, and was

what he had done and to which he was pleading guilty during these proceedings.

Thereafter, defendant expressed in no uncertain terms that he agreed with the

government’s evidence as to his participation in the offense. Thereupon, defendant
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indicated he was pleading guilty to Count One of the Indictment in Criminal No. 10–340

(DRD).

        This Magistrate Judge after having explained to the defendant his rights,

ascertaining that he was acting freely and voluntarily to the waiver of such rights and in his

decision of pleading guilty, with full knowledge of the consequences thereof, and there

being a basis in fact for such a plea, is recommending that a plea of guilty be entered as to

Count One of the Indictment in Criminal No. 10-340 (DRD).

        IT IS SO RECOMMENDED.

        The sentencing hearing will be schedule promptly, before Honorable Daniel R.

Domínguez, District Court Judge.

        San Juan, Puerto Rico, this 13th day of February of 2012.



                                                     s/ CAMILLE L. VELEZ-RIVE
                                                     CAMILLE L. VELEZ-RIVE
                                                     UNITED STATES MAGISTRATE          JUDGE
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